     CASE 0:14-cv-04666-JRT-TNL           Doc. 805   Filed 12/03/24   Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

REGENTS OF THE UNIVERSITY OF                         Civil No. 14-4666 (JRT/TNL)
MINNESOTA,
                                    Plaintiff,

v.                                                         TRIAL NOTICE

AT&T MOBILITY LLC, et al.,
                                 Defendants.

REGENTS OF THE UNIVERSITY OF                         Civil No. 14-4669 (JRT/TNL)
MINNESOTA,
                                    Plaintiff,

v.

SPRINT SOLUTIONS, INC., et al.,
                                 Defendants.

REGENTS OF THE UNIVERSITY OF                         Civil No. 14-4671 (JRT/TNL)
MINNESOTA,
                                    Plaintiff,

v.

T-MOBILE USA, INC., et al.,
                                 Defendants.

REGENTS OF THE UNIVERSITY OF                         Civil No. 14-4672 (JRT/TNL)
MINNESOTA,
                                    Plaintiff,

v.

CELLCO PARTNERSHIP, et al.,
                                 Defendants.
      CASE 0:14-cv-04666-JRT-TNL         Doc. 805    Filed 12/03/24    Page 2 of 2




      This case is set for trial on Monday, March 10, 2025, at 9:00 a.m. before the

Honorable John R. Tunheim. The trial will be held in Courtroom 14E at the United States

Courthouse, 300 South Fourth Street, Minneapolis, MN 55415. Jury selection is set for

Friday, March 7, 2025 at 9:00 a.m.

      Motions in limine are due by January 10, 2025. Responses to motions in limine are

due by January 24, 2025. The hearing on the motions in limine is set on February 19, 2025

at 1:30 p.m. Pre-trial submissions including jury instructions, voir dire, exhibit lists,

witness lists, and a statement of the case are due on February 19, 2025.

      The parties should be aware that this date is subject to change if a criminal case

must be tried that week, or if there are other changes to the Court’s calendar.



Dated: December 3, 2024
at Minneapolis, Minnesota                           s/ John R. Tunheim
                                                     JOHN R. TUNHEIM
                                                United States District Judge
